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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NE\il YORK
                            -------------x
Hicham Azkour,

                 Plaintffi                            Index No. 10-CV-4132 (RJSXKNF)

                 -v-                                  DEFENDANT'S PROPOSED
                                                      JURY INSTRUCTIONS
Little Rest Twelve,Inc., Nina Zajic,
David Kay, and Abderrahmane alUa
Peter Eljastimi

                 Defendønts.




1.     FAILURE TO MITIGATE

       You have been instructed that plaintiff worked for defendant at Ajna Bar

restaurant as a busboy from October 10,2009 to February 10,2010, and that defendant

failed to pay plaintiff 54,353.73 in wages and      $5,421   .47   in   retained tips during his

employment. You have also been instructed that defendant terminated plaintiffls

employment on February 10, 2010 in retaliation for asserting his claim to unpaid wages.

       Plaintiff seeks an award of back pay for the period from his termination              on

February 10, 2010 through March 15,2013, when Ajna Bar closed.

       In order to obtain back pay, plaintiff was required to make reasonable efforts to

find suitable new employment during the back pay period. In this case, defendant claims

that plaintiff failed to make reasonable efforts to find employment after his termination.

       It is defendant's burden to prove that plaintiff failed to make reasonable efforts to

minimize his damages. This defense is proven        if you find by a preponderance of the
evidence that:

       l.        Plaintiff failed to make reasonable efforts or use reasonable diligence in

seeking suitable new employment fol'lowing his termination; or
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        2         (a)    That there were substantially positions comparable to plaintiffls

position as a busboy at Ajna Bar available in New York City during the back pay period;

and

                  (b)    That plaintiff failed to make reasonable efforts      to find such
positions.

        See Greenway v. Buffalo    Hilton Hotel,143 F. 3d 4l (2d Cir. 1997).

2.      DISABILITY DURING THE BACK PAY PERIOD

        In order to be entitled to receive back pay, plaintiff must have been ready, willing

and available for employment during the back pay     period. Plaintiff is not entitled to back

pay for any period in which he was unable to obtain and maintain full time employment

due to disability.

        There is no requirement that this disability meet the legal standard for disability

under the Americans with Disability Act or the Social Security           Act.    Instead, the

disability need only be serious enough that the disability is sufficiently a cause of his

unemployment such that the unemployment is no longer truly "a result of'the retaliation.

See Thornley v. Penton Publishing,     Inc., I04 F. 3d 26 (2d Cir. 1997); Ford Motor Co.    v.


EEOC,458 U.S. 219 (1982); Miller v. Margh,766F.2d 49011 lth Cir. 1935).

        Here, defendant claims that plaintiff is not entitled to back pay because he was

unable to find or maintain employment during the back pay period due to mental illness.

        It is defendant's   burden to prove that plaintiff was unable to find or maintain

employment for some or all of the back pay period due to mental illness. This evidence

is proven    ifyou find by a preponderance ofthe evidence that:

        1.       Plaintiff was unable to obtain or maintain full time employment     because

of mental illness during some or all of the back pay period; or


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          2.     Plaintiff s unemployment during some or all of the back pay period was

substantially caused by mental illness.

3.        PUNITIVE DAMAGES

          Plaintiff seeks an award of punitive damages against defendant in this case. The

decision whether to award punitive damages and the amount of the award is up to you,

the   jury. You do not have to award them if you feel that punitive             damages are not

appropriate.

          Punitive damages are discretionary, and may be awarded to punish the defendant

for its outrageous conduct and to deter it and others like it from similar conduct in the

future.

          Plaintiff has the burden of proving by clear and convincing evidence that punitive

damages should be awarded, and,      if   so, the amount of any such damages.

          You may award punitive damages only        if you find that   defendant's conduct that

harmed the plaintiff was malicious, oppressive or in reckless disregard of the plaintiffs

rights. Conduct is malicious if it is accompanied by ill will, or spite, or if it is for the

purpose of injuring the   plaintiff. Conduct is reckless disregard of the plaintiffs rights if,

under the circumstances,    it reflects complete indifference to the plaintifls rights under

federal   law. An act or omission is oppressive if the defendant injures or damages or
otherwise violates the rights of the plaintiff with unnecessary harshness or severity, such

as by the misuse   or abuse of authority or power.

          If you find that punitive damages are appropriate, you must use reason in setting

the amount. Punitive damages,      if   any, should be in an amount sufficient to    fulfill their
purposes but should not reflect bias, prejudice         or sympathy toward any party. In




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considering the amount                of any punitive      damages, you may consider the degree of

reprehensibility of the defendant's conduct.

            See   Philip Monis v. Williams, 549 U.S. 346 (2007); Fairness Through Guidance:

Jury Instruction on Punitive Damages After Philip Morris v. Williams; Charleston Law

Review 2008, Volume 2.

4.          BURDEN OF PROOF _PREPONDERANCE OF THE EVIDENCE

            What does a "preponderance of evidence" mean? To establish a fact by                           a


preponderance of the evidence means to prove that the fact is more likely true than not

true. A      preponderance of the evidence means the greater weight of the evidence. It

refers to the quality and persuasiveness of the evidence, not to the number of witnesses or

documents. In determining whether a claim has been proved by a preponderance of the

evidence, you may consider the relevant testimony of all witnesses, regardless of who

may have called them, and all the relevant exhibits received in evidence, regardless of

who may have produced them.

            If you find that the credible evidence on a given issue is evenly divided between

the parties       -   that   it is equally   probable that one side is right as it is that the other side is

right   -   then you must decide that issue against the party having this burden of proof.

That is because the party bearing this burden must prove more than simple equality of

evidence      - he must prove the element             at issue by a preponderance of the evidence. On

the other hand, the party with this burden of proof need prove no more than                               a


preponderance. So long as you find that the scales tip, however slightly, in favor of the

party with this burden of proof               - that what the party claims is more likely true than not
true   - then that element will have been proved               by a preponderance of evidence.




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       Some of you may have heard of proof beyond a reasonable doubt, which is the

proper standard of proof in a criminal trial. That requirement does not apply to a civil

case such as this, and you should put   it out of your mind.



Dated: New York, New York
       Jrure 30, 2014



                                                    Respectfully submitted,

                                                    HOFFMANN & ASSOCIATES

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